        Case 4:22-cv-05246-HSG Document 20 Filed 11/15/22 Page 1 of 9


Matthew S. Warren (State Bar No. 230565)
Sachli Balazadeh-Nayeri (State Bar No. 341885)
22-5246@cases.warrenlex.com
WARREN LEX LLP
2261 Market Street, No. 606
San Francisco, California, 94114
+1 (415) 895-2940
+1 (415) 895-2964 facsimile

Attorneys for Defendant Google LLC



                              UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF CALIFORNIA

                                      OAKLAND DIVISION



LARRY GOLDEN,                             )       Case No. 4:22-cv-05246-HSG
                                          )
   Plaintiff,                             )       REPLY IN SUPPORT OF
                                          )       MOTION TO DISMISS BY
v.                                        )       DEFENDANT GOOGLE LLC
                                          )
GOOGLE LLC,                               )       Date:    February 16, 2023
                                          )       Time:    2:00 p.m.
   Defendant.                             )       Place:   Courtroom 2
_________________________________________ )       Judge:   Hon. Haywood S. Gilliam, Jr.




                                                                  Case No. 4:22-cv-05246-HSG
                           REPLY IN SUPPORT OF MOTION TO DISMISS BY DEFENDANT GOOGLE LLC
              Case 4:22-cv-05246-HSG Document 20 Filed 11/15/22 Page 2 of 9


                                                           TABLE OF CONTENTS

Introduction . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .1

Argument . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1

I.         Issue Preclusion Does Not Bar Google’s Motion to Dismiss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1

           A.         No Court Has Actually Litigated or Resolved the Issues in Google’s Motion. . . . . . . . . . 2

           B.         Google Did Not Have a Full and Fair Opportunity to Litigate Any Issues. . . . . . . . . . . . 3

II.        ‘Vertical Stare Decisis’ Has No Bearing on Google’s Motion to Dismiss . . . . . . . . . . . . . . . . . . . 3

III.       Google’s Motion, Which Mr. Golden Does Not Address, Requires Dismissal. . . . . . . . . . . . . . . 4

IV.        Mr. Golden Did Not Seek Leave to Amend, Instead Doubling Down on His Existing Claims. . . 4
Conclusion . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5




                                                              –i–                 Case No. 4:22-cv-05246-HSG
                                            REPLY IN SUPPORT OF MOTION TO DISMISS BY DEFENDANT GOOGLE LLC
             Case 4:22-cv-05246-HSG Document 20 Filed 11/15/22 Page 3 of 9


                                                     TABLE OF AUTHORITIES

                                                                       Cases                                                                 Pages

Aniel v. PHH Mortgage Corp.,
   No. 21-6071, 2022 WL 1601405 (N.D. Cal. Jan. 13, 2022) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1, 2, 3
Beacon Oil Co. v. O’Leary,
   71 F.3d 391 (Fed. Cir. 1995). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3
Blonder-Tongue Labs, Inc. v. Univ. of Illinois Found.,
   402 U.S. 313 (1971). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3
City of Arcadia v. U.S. Envtl. Protection Agency,
    265 F. Supp. 2d 1142 (N.D. Cal. 2003) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4
Cobarrubia v. Edwards,
   No. 19-7899, 2021 WL 4846948 (N.D. Cal. Jun. 4, 2021) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4
Elohim EPF USA, Inc. v. Total Music Connection, Inc.,
   No. 14-2496, 2015 WL 12655536 (C.D. Cal. Dec. 7, 2015). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3
Golden v. Apple,
   Nos. 22-1229, 22-1267, 2022 WL 4103285 (Fed. Cir. 2022). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3
Hansberry v. Lee,
   311 U.S. 32 (1940). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .3
Hardwick v. County of Orange,
   980 F.3d 733 (9th Cir. 2020). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
Jackson v. Fischer,
   No. 11-2753, 2015 WL 5569133 (N.D. Cal. Sept. 21, 2015) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1
Janjua v. Neufeld,
   933 F.3d 1061 (9th Cir. 2019). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
Jenkins v. County of Riverside,
   398 F.3d 1093 (9th Cir. 2005). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4
In re Koninklijke Philips Pat. Litig.,
    No. 18-1885, 2020 WL 2733931 (N.D. Cal. May 26, 2020). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3, 4
In re Online DVD Rental Antitrust Litig.,
    No. 09-2029, 2011 WL 5883772 (N.D. Cal. Nov. 23, 2011). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4
Oyeniran v. Holder,
   672 F.3d 800 (9th Cir. 2012). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1




                                                           – ii –               Case No. 4:22-cv-05246-HSG
                                          REPLY IN SUPPORT OF MOTION TO DISMISS BY DEFENDANT GOOGLE LLC
             Case 4:22-cv-05246-HSG Document 20 Filed 11/15/22 Page 4 of 9


                                                     TABLE OF AUTHORITIES

                                                                  (continued)

                                                                      Cases                                                                  Pages

Pandkhou v. Prudential Ins. Co. of Am.,
   No. 21-700, 2022 WL 2716519 (N.D. Cal. July 13, 2022). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
Parklane Hosiery Co. v. Shore,
   439 U.S. 322 (1979) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3
Shakur v. Schriro,
   514 F.3d 878 (9th Cir. 2008). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4
Taylor v. Sturgell,
   553 U.S. 880 (2008). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .1
U.S. v. Reunion Mortg., Inc.,
   No. 13-2340, 2013 WL 5944252 (N.D. Cal. Nov. 5, 2013). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4
Wolfson v. Brammer,
   616 F.3d 1045 (9th Cir. 2010). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1

                                                             Other Proceedings
Golden v. Apple Inc.,
   No. 22-4152 (N.D. Cal. Jul. 15, 2022) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5
Golden v. Google,
   No. 21-244 (D.S.C. Nov. 2, 2021). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2, 3




                                                           – iii –              Case No. 4:22-cv-05246-HSG
                                          REPLY IN SUPPORT OF MOTION TO DISMISS BY DEFENDANT GOOGLE LLC
         Case 4:22-cv-05246-HSG Document 20 Filed 11/15/22 Page 5 of 9


                                            INTRODUCTION
       Plaintiff’s opposition to Google’s motion to dismiss serves only to confirm that Google’s

arguments are correct. Google’s motion explained that the complaint does not actually allege that

Google infringes, but rather claims only that Google makes devices that someone else could modify, by

installing additional third-party software, into an allegedly infringing device. Plaintiff’s opposition does

not contest or even address this point, thus conceding it. And Google’s motion requested that the Court

deny plaintiff leave to amend, as he has had time to develop his best theory of infringement, and that

best theory falls well short. Again, plaintiff does not contest this point, but instead now seeks summary

judgment on his current claims. For the reasons set forth in Google’s motion and confirmed by

plaintiff’s opposition, the Court should grant Google’s motion to dismiss without leave to amend,

mooting all other motions before it and closing this case.

                                              ARGUMENT
I.     Issue Preclusion Does Not Bar Google’s Motion to Dismiss
       In his opposition to Google’s motion, plaintiff Larry Golden does not respond to Google’s

arguments, but contends only that Google cannot raise those—or apparently any other—arguments

“under both the ‘Issue Preclusion’ doctrine, and the doctrine of ‘Vertical Stare Decisis’.” Docket No. 18

at 6. Mr. Golden is incorrect. “Issue preclusion bars ‘successive litigation of an issue of fact or law

actually litigated and resolved in a valid court determination essential to the prior judgment, even if the

issue recurs in the context of a different claim.’” Aniel v. PHH Mortgage Corp., No. 21-6071, 2022 WL

1601405, at *4 (N.D. Cal. Jan. 13, 2022) (quoting Taylor v. Sturgell, 553 U.S. 880, 892 (2008)). Given

issue preclusion’s ability to remove issues from dispute, courts carefully apply collateral estoppel only

when a case passes all four of the applicable tests:

       Issue preclusion applies to a question, issue, or fact when (1) there was a full and fair
       opportunity to litigate the issue in the previous action; (2) the issue was actually litigated; (3)
       there was final judgment on the merits; and (4) the person against whom [issue preclusion] is
       asserted was a party to or in privity with a party in the previous action.

Jackson v. Fischer, No. 11-2753, 2015 WL 5569133 at *17 (N.D. Cal. Sept. 21, 2015) (alteration in

original) (citing Wolfson v. Brammer, 616 F.3d 1045, 1064 (9th Cir. 2010); Oyeniran v. Holder, 672 F.3d

800, 806 (9th Cir. 2012)). “The party arguing for preclusion has the burden of demonstrating that each

                                               –1–                  Case No. 4:22-cv-05246-HSG
                              REPLY IN SUPPORT OF MOTION TO DISMISS BY DEFENDANT GOOGLE LLC
         Case 4:22-cv-05246-HSG Document 20 Filed 11/15/22 Page 6 of 9


requirement is met.” Pandkhou v. Prudential Ins. Co. of Am., No. 21-700, 2022 WL 2716519, at *1

(N.D. Cal. July 13, 2022) (citing Hardwick v. County of Orange, 980 F.3d 733, 740 (9th Cir. 2020)).

Mr. Golden does not and cannot meet the high burden set by law.

       A.      No Court Has Actually Litigated or Resolved the Issues in Google’s Motion
       As Google’s motion explained, Mr. Golden previously sued Google in the District of South

Carolina. Mr. Golden never served Google with that complaint, and Google never appeared in that

action. Instead, the District of South Carolina followed its “established local procedure” for reviewing

pro se complaints to merely confirm “that subject matter jurisdiction exists and that a case is not

frivolous.” Golden v. Google, No. 21-244, Docket No. 14, slip op. at 2 (D.S.C. Apr. 9, 2021). That

court found that Mr. Golden’s complaint failed this test and dismissed it. See id. at 10; see Docket No.

11 § C (N.D. Cal. Oct. 26, 2022). Mr. Golden appealed; the Court of Appeals vacated the District

Court’s ruling and remanded to “allow the complaint to be filed and request service of process.” Golden

v. Apple, Nos. 22-1229, 22-1267, 2022 WL 4103285, at *2 (Fed. Cir. 2022); see Docket No. 11 § C. The

Court of Appeals carefully limited the scope of its ruling to the District of South Carolina’s pre-service

review procedure, confirming that “[o]ur decision does not preclude subsequent motions to dismiss by

the defendant for failure to state a claim or for summary judgment. We express no opinion as to the

adequacy of the complaint or claim chart except that it is not facially frivolous.” Id. (emphasis added).

The Court of Appeals thus explicitly disclaimed any ruling on the issues Google raised in its motion to

dismiss. See id.

       “‘An issue is actually litigated when an issue is raised, contested, and submitted for

determination.’” Aniel, 2022 WL 1601405, at *4 (quoting Janjua v. Neufeld, 933 F.3d 1061, 1066 (9th

Cir. 2019)). The only issue before the Court of Appeals—and, as its opinion was careful to note, the

only issue on which it ruled—was whether the District of South Carolina’s pre-service review procedure

should bar Mr. Golden from serving his complaint. See Golden v. Apple, 2022 WL 4103285, at *1. The

Court of Appeals concluded that it should not, and that Mr. Golden could serve his complaint. See id. at

*2. Mr. Golden has now done so—in this Court rather than in the District of South Carolina—and the

Court of Appeals’ ruling provides no further relief. See id. For this reason alone, the Court can and

should dispense with plaintiff’s claim of collateral estoppel.

                                               –2–                  Case No. 4:22-cv-05246-HSG
                              REPLY IN SUPPORT OF MOTION TO DISMISS BY DEFENDANT GOOGLE LLC
          Case 4:22-cv-05246-HSG Document 20 Filed 11/15/22 Page 7 of 9


       B.      Google Did Not Have a Full and Fair Opportunity to Litigate Any Issues
       Mr. Golden’s issue preclusion argument fails for another, independent reason: Google never

appeared as a party to the previous action. Issue preclusion bars a “party who has had one fair and full

opportunity to prove a claim and has failed in that effort” from going “to trial on the merits of that claim

a second time.” Blonder-Tongue Labs., Inc. v. Univ. of Illinois Found., 402 U.S. 313, 324 (1971). But

Google has litigated nothing, because the District of South Carolina prevented service of the complaint.

Golden v. Google, No. 21-244, Docket No. 21, slip op. at 6 (D.S.C. Nov. 2, 2021); see generally Golden

v. Google, No. 21-244 (D.S.C. Jan. 26, 2021). As a result, Google has never “raised, contested,” or

“submitted for determination” any issue. Aniel, 2022 WL 1601405 at *4. Due process thus bars

collateral estoppel:

       Some litigants—those who never appeared in a prior action—may not be collaterally estopped
       without litigating the issue. They have never had a chance to present their evidence and
       arguments on the claim. Due process prohibits estopping them despite one or more existing
       adjudications of the identical issue which stand squarely against their position.

Blonder-Tongue Labs., 402 U.S. at 329 (citing Hansberry v. Lee, 311 U.S. 32, 40 (1940)); see Parklane

Hosiery Co. v. Shore, 439 U.S. 322, 327 n.7 (1979) (“It is a violation of due process for a judgment to be

binding on a litigant who was not a party or a privy and therefore has never had an opportunity to be

heard”); Elohim EPF USA, Inc. v. Total Music Connection, Inc., No. 14-2496, 2015 WL 12655536, at *6

(C.D. Cal. Dec. 7, 2015). Because Google did not have any opportunity to appear before the District of

South Carolina or the Federal Circuit, due process prohibits issue preclusion against Google, and the

Court can dispense with plaintiff’s claim for this reason as well.

II.    ‘Vertical Stare Decisis’ Has No Bearing on Google’s Motion to Dismiss
       Mr. Golden argues that “the doctrine of ‘Vertical Stare Decisis’” also “precludes re-litigation of

the infringement claims.” Docket No. 18 at 6. Again, Mr. Golden is incorrect. “‘[S]tare decisis applies

only to legal issues that were actually decided in a prior action.’” In re Koninklijke Philips Pat. Litig.,

No. 18-1885, 2020 WL 2733931, at *1 (N.D. Cal. May 26, 2020) (quoting Beacon Oil Co. v. O’Leary,

71 F.3d 391, 395 (Fed. Cir. 1995)). But the Court of Appeals expressly limited its ruling to the District

of South Carolina’s pre-service review, and noted that “[o]ur decision does not preclude subsequent

motions to dismiss by the defendant for failure to state a claim or for summary judgment.” Golden v.

                                                –3–                  Case No. 4:22-cv-05246-HSG
                               REPLY IN SUPPORT OF MOTION TO DISMISS BY DEFENDANT GOOGLE LLC
         Case 4:22-cv-05246-HSG Document 20 Filed 11/15/22 Page 8 of 9


Apple, 2022 WL 4103285, at *2 (emphasis added); see supra § I.A. The Court of Appeals’ ruling thus

has no bearing on Google’s motion, which did not address the issues Google now raises; it cannot and

does not constrain this Court’s ruling on those issues. Where, as here, “the Federal Circuit expressly

declined to address” a question, no stare decisis applies or binds this Court. In re Koninklijke Philips,

2020 WL 2733931, at *1.

III.   Google’s Motion, Which Mr. Golden Does Not Address, Requires Dismissal
       Google’s motion explained that the complaint does not actually allege that Google infringes, but

claims only that Google makes devices that someone else could modify, by installing additional software

made by someone else, into an allegedly infringing device. See generally Docket No. 11. Plaintiff’s

opposition does not contest or even address this point, thus conceding it. Where a plaintiff “does not

address, let alone dispute” an argument, it is “an acknowledgement that Defendants’ argument has

merit.” U.S. v. Reunion Mortg., Inc., No. 13-2340, 2013 WL 5944252, at *6 (N.D. Cal. Nov. 5, 2013)

(citing In re Online DVD Rental Antitrust Litig., No. 09-2029, 2011 WL 5883772, at *12 (N.D. Cal.

Nov. 23, 2011)); see, e.g., Jenkins v. County of Riverside, 398 F.3d 1093, 1095 n.4 (9th Cir. 2005))

(plaintiff “abandoned her other two claims by not raising them in opposition to the County’s motion for

summary judgment”); City of Arcadia v. U.S. Envtl. Protection Agency, 265 F. Supp. 2d 1142, 1154 n.16

(N.D. Cal. 2003)) (the “implication of this lack of response is that any opposition to this argument is

waived”); Cobarrubia v. Edwards, No. 19-7899, 2021 WL 4846948, at *3 (N.D. Cal. Jun. 4, 2021)

(finding plaintiff abandoned or waived her legal argument “due to the failure to address the issue in her

opposition.”). Courts have found that even pro se plaintiffs have “abandoned” their “claims by not

raising them in opposition” to a motion. Shakur v. Schriro, 514 F.3d 878, 892 (9th Cir. 2008).

Mr. Golden’s failure to address Google’s arguments concedes their merit; the Court should grant the

motion for this reason as well.

IV.    Mr. Golden Did Not Seek Leave to Amend, Instead Doubling Down on His Existing Claims
       Google’s motion requested that, under the circumstances of this case, this Court should deny

leave to amend, because Mr. Golden’s infringement theory confirms that amendment would be futile.

Docket No. 11 § III. Mr. Golden did not address this point, thus waiving any arguments against it.

See supra, § III. But Mr. Golden did not merely waive opposition on this point; as part of his

                                               –4–                  Case No. 4:22-cv-05246-HSG
                              REPLY IN SUPPORT OF MOTION TO DISMISS BY DEFENDANT GOOGLE LLC
         Case 4:22-cv-05246-HSG Document 20 Filed 11/15/22 Page 9 of 9


opposition, he filed a motion for summary judgment on the current claims, thus confirming his desire to

proceed to resolution on his current theory. Docket No. 18 at 6. “This is the rare case where dismissal

without leave to amend is appropriate at the outset.” Golden v. Apple, No. 22-4152, Docket No. 29, slip

op. at 1 (N.D. Cal. Oct. 20, 2022). It is even more so now that Mr. Golden has failed to dispute, and has

thus conceded, that the Court should not grant leave to amend.

                                            CONCLUSION
       For the reasons set forth above and in Google’s motion, the Court should dismiss the complaint

in its entirety without leave to amend.

Date: November 15, 2022                          Respectfully submitted,


                                                 _______________________________________
                                                 Matthew S. Warren (State Bar No. 230565)
                                                 Sachli Balazadeh-Nayeri (State Bar No. 341885)
                                                 WARREN LEX LLP
                                                 2261 Market Street, No. 606
                                                 San Francisco, California, 94114
                                                 +1 (415) 895-2940
                                                 +1 (415) 895-2964 facsimile
                                                 22-5246@cases.warrenlex.com

                                                 Attorneys for Defendant Google LLC




                                               –5–                  Case No. 4:22-cv-05246-HSG
                              REPLY IN SUPPORT OF MOTION TO DISMISS BY DEFENDANT GOOGLE LLC
